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                                                                                  Filed: 2/25/2022 11:32 AM
                                48C06-2202-CT-000022                                                   Clerk
                                    Madison Circuit Court 6                       Madison County, Indiana




           IN THE CIRCUIT COURT NO. 6 FOR MADISON COUNTY
                          STATE OF INDIANA
                                       CAUSE NO.

GREGG A. RATCLIFF AND                          )
PORSCHE HOLDER,                                )
                                               )
          PLAINTIFFS,                          )
                                               )
V.                                             )
                                               )
BURRELL LEE,                                   )
                                               )
          DEFENDANT.                           )

                                     COMPLAINT

     Plaintiffs Gregg A. Ratcliff and Porsche Holder, by counsel, hereby assert claims

for relief against Defendant Burrell Lee. In support hereof, the Plaintiffs state and

allege:

     1. At all times relevant herein, Gregg A. Ratcliff and Porsche Holder were

married, living together and domiciled in Madison County, Indiana.

     2. At all times relevant herein, Burrell Lee was domiciled in the Commonwealth

of Kentucky.

     3. On January 28, 2022, at approximately 1:39 a.m., based upon knowledge and

belief, Porsche Holder was occupying a Dodge that had experienced a mechanical

problem which had stopped in the right, northbound shoulder lane of Interstate 69

in Madison County, Indiana.

     4. At said date and time, Gregg A. Ratcliff had stopped a Chevrolet in the right,

northbound shoulder of Interstate 69 to aid Porsche Holder.


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   5. At said date and time, Gregg A. Ratcliff was in between the Chevrolet and the

Dodge attempting to repair the Dodge.

   6. At said date and time, Burrell Lee was driving a semi-tractor in the right,

northbound travel lane on Interstate 69 behind the Dodge and Chevrolet.

   7. At said date and time, Burrell Lee was negligent in driving the semi-tractor,

including failing to use reasonable care, failing to maintain proper control, failing to

keep a proper lookout, driving at an unreasonable speed under the circumstances,

and driving onto the shoulder of the roadway.

   8. On January 28, 2022, at approximately 1:39 a.m., the negligent conduct of

Burrell Lee in driving the semi-tractor was a responsible cause of a collision with

the Dodge being occupied by Porsche Holder, which forced the Dodge to collide into

Gregg A. Ratcliff and the Chevrolet.

   9. The negligent conduct of Burrell Lee was the unexcused violation of one or

more laws designed to protect the class of persons, including Gregg A. Ratcliff and

Porsche Holder, against the type of harm which occurred because of the violation.

   10. The negligent conduct of Burrell Lee was a responsible cause of Gregg A.

Ratcliff experiencing harms, including injuries, pain, suffering, and damages.

   11. The negligent conduct of Burrell Lee was a responsible cause of Porsche

Holder experiencing harms, including injuries, pain, suffering, and damages.

   WHEREFORE, Plaintiffs Gregg A. Ratcliff and Porsche Holder pray that the

Court enters a judgment against Defendant Burrell Lee for compensatory damages

in an amount sufficient to remedy the harms to Plaintiffs Gregg A. Ratcliff and



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Porsche Holder, for costs, for a trial by jury on all issues in this cause, and all other

just and proper relief in the premises.

                                                Respectfully submitted,

                                                CRAIG KELLEY & FAULTLESS           LLC



                                                /s/ David W. Craig
                                                David W. Craig, #4356-98


                                                /s/ Scott A. Faultless
                                                Scott A. Faultless, #15736-49

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